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GIBBONS P.C.
One Gateway Center
Newark, New Jersey 07102-5310
Philip J. Duffy, Esq.
Telephone: (973) 596-4821
Facsimile: (973) 639-6219
E-mail: Pduffy@gibbonslaw.com
David N. Crapo, Esq.
Telephone: (973) 596-4523
Facsimile: (973) 639-6244
E-mail: Dcrapo@gibbonslaw.com

Special Counsel for the Plaintiff,
The Great Atlantic & Pacific Tea Company, Inc., et al.

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


    IN RE:                                                                         Chapter 11

    THE GREAT ATLANTIC & PACIFIC TEA                                               Case No. 15-23007 (RDD)
    COMPANY, Inc., et al.,1
                                                                                   (Jointly Administered)
                                   Debtors.

    THE GREAT ATLANTIC & PACIFIC TEA
    COMPANY, INC. et al.
                                                                                     Adv. Proc. No. 18-08245 (RDD)
                                   Plaintiff,

             v.                                                                          STIPULATION AND ORDER
                                                                                       DISMISSING CERTAIN COUNTS
    PEPSICO, INC; BOTTLING GROUP, LLC (d/b/a                                               IN SECOND AMENDED
    PEPSI BEVERAGES COMPANY and f/d/b/a                                                  ADVERSARY COMPLAINT


1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, are as follows: 2008
Broadway, Inc. (0986); The Great Atlantic & Pacific Tea Company, Inc. (0974); A&P Live Better, LLC (0799); A&P Real Property, LLC
(0973); APW Supermarket Corporation (7132); APW Supermarkets, Inc. (9509); Borman’s, Inc. (9761); Delaware County Dairies, Inc. (7090);
Food Basics, Inc. (1210); Kwik Save Inc. (8636); McLean Avenue Plaza Corp. (5227); Montvale Holdings, Inc. (6664); Montvale-Para Holdings,
Inc. (2947); Onpoint, Inc. (6589); Pathmark Stores, Inc. (9612); Plainbridge LLC (5965); Shopwell, Inc.(3304); Super Fresh Food Markets, Inc.
(2491); The Old Wine Emporium of Westport, Inc. (0724); Tradewell Foods of Conn., Inc. (5748); and Waldbaum, Inc. (8599). The international
subsidiaries of The Great Atlantic & Pacific Tea Company, Inc. are not debtors in these chapter 11 cases. The location of the Debtors’ corporate
headquarters is 19 Spear Road, Suite 310, Ramsey, New Jersey 07446.

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 THE PEPSI BOTTLING GROUP); FRITO-LAY
 NORTH AMERICA, INC.; QUAKER SALES
 AND DISTRIBUTION, INC.; MULLER
 QUAKER DAIRY, LLC; STACY’S PITA CHIP
 COMPANY, INC.; PEPSI BOTTLING GROUP
 NJ; and PEPSI USA,

                          Defendants.


        WHEREAS, Plaintiff The Great Atlantic & Pacific Tea Company, Inc. and its affiliated

debtors (collectively, “GAPT” or “Debtors”) filed its Second Amended Adversary Compliant

(“Complaint”) against Defendants PepsiCo, Inc. (“PepsiCo”); Frito-Lay North America, Inc.

(“Frito-Lay”); Bottling Group, LLC (d/b/a Pepsi Beverages Company and f/d/b/a The Pepsi

Bottling Group) (“Bottling Group”); Quaker Sales and Distribution, Inc. (“Quaker Sales”); Muller

Quaker Dairy, LLC (“Muller Quaker”); Stacy’s Pita Chip Company, Inc. (“Stacy’s”); Pepsi

Bottling Group NJ (“Pepsi NJ”); and Pepsi USA in this adversary proceeding on August 17, 2018

[ECF Docket no. 18-08245 (RDD) (collectively, (“Defendants”); and

        WHEREAS, the Defendants have paid the Holdback Amount the Debtors seek to recover

by the Twenty-Sixth Cause of Action of the Complaint; and

         WHEREAS, Defendant Pepsi NJ is not a separate legal entity from Defendant Bottling

Group and, therefore, any of the claims the Debtors assert against Defendant Pepsi NJ in the

Complaint should be asserted, if at all, against Defendant Bottling Group; and

        WHEREAS, Defendant Pepsi USA is not a separate legal entity from Defendant Bottling

Group and, therefore, any of the claims the Debtors assert against Defendant Pepsi USA in the

Complaint should be asserted, if at all, against Defendant Bottling Group; and

        WHEREAS, the Defendants have agreed that any of the claims the Debtors assert against

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Defendant Stacy’s in the Complaint should be asserted, if at all, against Frito; and

        WHEREAS, the Debtors and the Defendants have reached resolutions of other Causes of

Action set forth in the Complaint; and

        WHEREAS, the Debtors and the Defendants have agreed to the dismissal of certain

Causes of Action set forth in the Complaint as set forth below;

        NOW, THEREFORE, in consideration of the foregoing, the Debtors and the Defendants

hereby stipulate and agree as follows:

        1. The Twenty-Sixth Cause of Action (Breach of Contract—Against All Defendants)

             is hereby dismissed with prejudice.

        2. The claims of the Debtors against Defendant Pepsi NJ set forth in the Eleventh,

             Twelfth and Thirteenth Causes of Action of the Complaint shall be deemed

             incorporated and asserted against Defendant Bottling Group in the corresponding,

             Eighth, Ninth and Tenth Causes of Action of the Complaint (“Incorporated Pepsi

             NJ Claims”).

        3. The Defendants shall not defend against the Incorporated Pepsi NJ Claims on the basis

             that Defendant Bottling Group is not the appropriate party against which those claims

             may be asserted, but shall retain any and all other defenses or offsets it may have against

             the Incorporated Pepsi Claims.

        4. The Eleventh Cause of Action (Breach of Express and Implied Contract—Pepsi

             NJ) set forth in the Complaint is hereby dismissed.

        5. The Twelfth Cause of Action (Unjust Enrichment—Pepsi NJ) set forth in the

             Complaint is hereby dismissed.

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        6. The Thirteenth Cause of Action (Promissory Estoppel—Pepsi NJ) set forth in the

             Complaint is hereby dismissed.

        7. The claims of the Debtors against Defendant Pepsi USA set forth in the Fourteenth,

             Fifteenth and Sixteenth Causes of Action of the Complaint shall be deemed to be

             claims incorporated and asserted against Defendant Bottling Group in the

             corresponding Eighth, Ninth and Tenth Causes of Action of the Complaint

             (“Incorporated Pepsi USA Claims”).

        8. The Defendants shall not defend against the Incorporated Pepsi USA Claims on the

             basis that Defendant Bottling Group is not the appropriate party against which those

             claims can be asserted, but shall retain any and all other defenses or offsets it may have

             against the Incorporated Pepsi USA Claims.

        9. The Fourteenth Cause of Action (Breach of Express and Implied Contract—Pepsi

             USA) set forth in the Complaint is hereby dismissed.

        10. The Fifteenth Cause of Action (Unjust Enrichment—Pepsi USA) set forth in the

             Complaint is hereby dismissed.

        11. The Sixteenth Cause of Action (Promissory Estoppel—Pepsi USA) set forth in the

             Complaint is hereby dismissed.

        12. The claims of the Debtors against Defendant Stacy’s set forth in the Twentieth,

             Twenty-First and Twenty-Second Causes of Action of the Complaint shall be

             deemed incorporated and asserted against Defendant Frito in the corresponding Fifth,

             Sixth and Seventh Causes of Action of the Complaint (“Incorporated Stacy’s

             Claims”).

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             13. The Defendants shall not defend against the Incorporated Stacy’s Claims on the

             basis that Defendant Frito is not the appropriate party against which those claims can

             be asserted, but shall retain any and all other defenses or offsets it may have against the

             Stacy’s Incorporated Claims.

        14. The claims the Debtors assert against Frito in the Fifth, Sixth and Seventh Causes of

             Action set forth in the Complaint shall be deemed to be increased by the sum of

             $20,847.48, which sum is the amount of the claim the Debtors assert against Defendant

             Stacy’s in the Twentieth, Twenty-First and Twenty-Second Causes of Action set

             forth in the Complaint.

        15. The Twentieth Cause of Action (Breach of Express and Implied Contract—

             Stacy’s) set forth in the Complaint is hereby dismissed.

        16. The Twenty-First Cause of Action (Unjust Enrichment—Stacy’s) set forth in the

             Complaint is hereby dismissed.

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        17. The Twenty-Second Cause of Action (Promissory Estoppel—Stacy’s) set forth in

             the Complaint is hereby dismissed.

Dated: July 19, 2019

 THE GREAT ATLANTIC & PACIFIC TEA                     PEPSICO, INC; BOTTLING GROUP, LLC (d/b/a
 COMPANY, INC., et al.,                               PEPSI BEVERAGES COMPANY and f/d/b/a THE
                                                      PEPSI BOTTLING GROUP); FRITO-LAY NORTH
 By: /s/ David N. Crapo                               AMERICA, INC.; QUAKER SALES AND
 Philip J. Duffy, Esq.                                DISTRIBUTION, INC.; MULLER QUAKER
 Telephone: (973) 596-4821                            DAIRY, LLC; AND STACY’S PITA CHIP
 Facsimile: (973) 639-6219                            COMPANY, INC.,
 E-mail: pduffy@gibbonslaw.com                        By: /s/ Jeffrey Chubak
 David N. Crapo, Esq.                                 Jeffrey Chubak
 Telephone: (973) 596-4523                            STORCH AMINI PC
 Facsimile: (973) 639-6244                            140 East 45th Street, 25th Floor
 E-mail: dcrapo@gibbonslaw.com                        New York, New York 10017
 GIBBONS P.C.                                         (212) 490-4100
 One Gateway Center                                   jchubak@storchamini.com
 Newark, New Jersey 07102-5310
                                                      - and -
 Special Counsel for the Plaintiff,
 The Great Atlantic & Pacific Tea Company,            Joseph D. Frank (admitted pro hac vice)
 Inc., et al.                                         Jeremy C. Kleinman (admitted pro hac vice)
                                                      FRANKGECKER LLP
                                                      325 North LaSalle Street, Suite 625
                                                      (312) 276-1400
                                                      jfrank@fgllp.com
                                                      jkleinman@fgllp.com

                                                      Attorneys for Defendants
 SO ORDERED:
 This 22nd day of July, 2019


 /s/Robert D. Drain
 Hon. Robert D. Drain
 United States Bankruptcy Judge




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